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 3
     Attorney for defendant,
 4   Michael Ray Taylor, Jr.
 5
                           UNITED STATES DISTRICT COURT
 6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                    ) Case No. 2:12-CR-0375-TLN
     UNITED STATES OF AMERICA,        )
 9                                    ) STIPULATION AND ORDER
              Plaintiff,              ) CONTINUING STATUS
10                                    ) CONFERENCE AND EXCLUDING
         vs.                          ) TIME
11                                    )
     MICHAEL RAY TAYLOR, JR., et al., )
12                                    )
              Defendants.             )
13

14   Plaintiff, United States of America, by and through its counsel of record, and
15
     Defendants, by and through their counsel of record, hereby stipulate as follows:
16
        1. By previous order, this case was set for a Status Conference on November 6,
17

18         2014.
19      2. By this stipulation, all the undersigned Defendants agree to continue the
20
           Status Conference to December 4, 2014, at 9:30 a.m. The parties stipulate to
21

22         exclude time until December 4, 2014, under Local Code T4. Plaintiff does

23         not oppose this request.
24
        3. The parties agree and stipulate and request that the Court find the following:
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 1
      a. Defense counsel continue to need time to prepare for both a possible

 2       trial as well as plea negotiation. Counsel for Mr. Taylor, Jr. has
 3
         received new documents to review and will need additional time to
 4
         confer with his client, who resides in the Los Angeles area. Counsel
 5

 6       for Mr. Taylor, Jr. will also need additional time to conduct research
 7
         concerning the amount of loss issue.
 8
      b. Counsel for Defendants believe that failure to grant the above-
 9

10       requested continuance would deny them the reasonable time necessary
11
         for effective preparation, taking into account the exercise of due
12
         diligence.
13

14    c. Due to the need for attorney preparation, the ends of justice served by
15
         continuing the case as requested outweigh the interest of the public
16
         and the defendants in a criminal trial within the time prescribed by the
17

18       Speedy Trial Act.

19    d. For the purpose of computing time under the Speedy Trial Act, 18
20
         U.S.C. § 3161, et seq., within which trial must commence, the time
21

22
         until December 4, 2014, is deemed excludable pursuant to 18 U.S.C. §

23       3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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         continuance granted by the Court at defendants’ request on the basis
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26
         of the Court’s finding that the ends of justice served by taking such

                                      2
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 1
                action outweigh the best interest of the public and the defendant in a

 2              speedy trial.
 3
       4. Nothing in this stipulation and order shall preclude a finding that other
 4
          provisions of the Speedy Trial Act dictate that additional time periods are
 5

 6        excludable from the period within which a trial must commence.
 7
       IT IS SO STIPULATED
 8
     DATED: November 4, 2014                      /s/ Tim Warriner, Attorney for
 9
                                                  Defendant, Michael Taylor, Jr.
10
     DATED: November 4, 2014                      /s/ Thomas A. Johnson, Attorney for
11
                                                  Defendant, Michael Taylor, Sr.
12
     DATED: November 4, 2014                      /s/ Christopher Cosca, Attorney for
13
                                                  Defendant, Gregory Martin
14
     DATED: November 4, 2014                      /s/ Michael Chastaine, Attorney for
15
                                                  Defendant, Andre Walters
16
     DATED: November 4, 2014                      /s/ Jared C. Dolan, Assistant
17                                                U.S.Attorney
18

19        IT IS SO ORDERED.
20

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22
     Dated: November 5, 2014

23

24
                                       Troy L. Nunley
25
                                       United States District Judge
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